                Case:
ILND 450 (Rev. 10/13)     1:17-cv-01765
                      Judgment in a Civil Action   Document #: 17 Filed: 05/24/17 Page 1 of 1 PageID #:52

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

Christopher David Drake,

Plaintiff(s),
                                                                   Case No. 17 C 01765
v.                                                                 Judge Edmond E. Chang

Continental Finance Company, LLC,

Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $       ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendant(s)
                   and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


                   other: Judgment entered on behalf of Plaintiff and against Defendant in the amount of
$24,647.50

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Edmond E. Chang on a motion



Date: 5/24/2017                                                 Thomas G. Bruton, Clerk of Court

                                                                \s\Sandra Brooks , Deputy Clerk
